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UNITED STATES COURT OF INTERNATIONAL TRADE
BEFORE: HONORABLE LEO M. GORDON, JUDGE
-----------------------------------------------------------------------x
MARUBENI-ITOCHU STEEL AMERICA,                                          :
                                                                        :
                                             Plaintiff,                 :
                                                                        :
                           v.                                           :
                                                                        :   Court No. 23-00004
THE UNITED STATES; U.S. CUSTOMS & BORDER                                :
PROTECTION; and ACTING COMMISSIONER                                     :
OF U.S. CUSTOMS AND BORDER PROTECTION                                   :
                                                                        :
                                             Defendant.                 :
------------------------------------------------------------------------x

                                       STIPULATED JUDGMENT

        For the purpose of resolving the above-captioned action, without any further judicial

proceedings and without trial or adjudication of any issue of law or fact, and without constituting

an admission of liability on the part of any party, and for no other purpose, the parties stipulate

and agree as follows:

        1.       Plaintiff, Marubeni-Itochu Steel America (“Marubeni”) and Defendant, the United

States, have agreed that, without reliquidating the entries included in the above-captioned action,

U.S. Customs and Border Protection will make payment to Marubeni of $494,902.80 (hereafter,

“the Payment”), without interest.

        2.       In acceptance of the Payment, Marubeni agrees to abandon all claims arising out

of or related to the entries in the above-captioned action.

        3.       Upon execution of this stipulation, Marubeni releases, waives, and abandons all

claims against the United States, its political subdivisions, its officers, agents, and employees,

arising out of or related to the entries at issue in the above-captioned action, regardless of

whether they were included in the summons or complaint filed in the above-captioned action,
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including but not limited to any claims for costs, expenses, attorney’s fees, and damages of any

sort.

        4.      Marubeni warrants and represents that no other action or suit with respect to the

claims advanced in the above-captioned action is pending or will be filed in or submitted to any

other court, administrative agency, or legislative body. Marubeni further warrants and represents

that it has made no assignment or transfer of all or any part of its rights arising out of or relating

to the claims advanced in the above-captioned action. Should there be now or in the future any

violation of these warranties and representations, any amount paid by the United States pursuant

to this stipulation shall be refunded promptly by Marubeni, together with interest thereon at the

rates provided in 41 U.S.C. § 7109, computed from the date the United States made such

payment.

        5.      Each party will bear its own costs, attorney’s fees, and expenses.

        6.      Upon execution of this stipulation, the parties agree to the entry of the attached

judgment by the Court, which directs U.S. Customs and Border Protection to make the payment

identified in paragraph 1 and dismisses this action with prejudice.

        7.      This stipulation is in no way related to or concerned with income or other taxes

for which Marubeni is now liable or may become liable in the future as a result of this

stipulation.

        8.      The purpose of this stipulation is for resolving the above-captioned action, and for

no other purpose. Accordingly, this stipulation shall not bind the parties, nor shall it be cited or

otherwise referred to, in any proceeding, whether judicial or administrative in nature, in which

the parties, or counsel for the parties, have or may acquire an interest, except as is necessary to

effect the terms of this stipulation.




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        9.     Plaintiffs counsel represents that he has been and is authorized to enter into this

stipulation on behalf of Marubeni.

        10.    This document constitutes a complete integration of the agreement between

Marubeni and The United States concerning their obligations with respect to the claims asse11ed

in the above-captioned action and constitutes a full and final resolution of those claims. This

document supersedes any and all prior oral or written representations, understandings or

agreements among or between Marubeni and the United States.

        WHEREFORE, plaintiff, Marubeni and defendant, the United States, respectfully request

that the Court enter the accompanying proposed judgment in accordance with the preceding

stipulation.

                                                         Respectfully submitted,

By:                                                      BRIAN M. BOYNTON
        Wm. Randolph Rucker                              Principal Deputy Assistant Attorney General
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                                                         Attorney-In-Charge
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                                                     I
                                                         Trial Attorney
                                                         International Trade Field Office
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                                                         Attorneys for Defendant
        September 11
Date: ______,2023




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MARUBENI-ITOCHU STEEL AMERICA,                                          :
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                                             Plaintiff,                 :
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                           v.                                           :
                                                                        :       Court No. 23-00004
THE UNITED STATES; U.S. CUSTOMS & BORDER                                :
PROTECTION; and ACTING COMMISSIONER                                     :
OF U.S. CUSTOMS AND BORDER PROTECTION                                   :
                                                                        :
                                             Defendant.                 :
------------------------------------------------------------------------x

                                                 JUDGMENT

        Pursuant to U.S. Court of International Trade Rule 54, and upon consideration of the
stipulation by plaintiff and defendant, and no party having filed an objection, now, in accordance
with said stipulation, it is,

        ORDERED that this action is decided, and this final judgment is to be entered by the
Clerk of the Court; the appropriate U.S. Customs and Border Protection officials shall make
refund in accordance with the stipulation of the parties set forth above; and it is further

       ORDERED that this action is dismissed with prejudice and each party shall bear its own
attorney fees, costs, and expenses.




Date: _________________, 2023
      New York, New York                                                         Judge Leo M. Gordon




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